






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00482-CR







Charles A. Camarillo, Appellant




v.




The State of Texas, Appellee








FROM THE DISTRICT COURT OF COMAL COUNTY, 22ND JUDICIAL DISTRICT


NO. CR2002-061, HONORABLE GARY L. STEEL, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Charles A. Camarillo was convicted of intoxication manslaughter in August 2002. 
There was no appeal.  In July 2003, Camarillo filed a pro se "motion for production of court records
and transcripts under rule 20.2."  Tex. R. App. P. 20.2 (free record on appeal if appellant is indigent). 
The district court denied the motion and Camarillo filed a notice of appeal to this Court.  In the
absence of a pending appeal of Camarillo's conviction, neither the district court nor this Court has
jurisdiction to order the preparation of a free appellate record pursuant to rule 20.2.  


Because neither court's jurisdiction was properly invoked, this appeal is dismissed.



				__________________________________________

				Jan P. Patterson, Justice

Before Chief Justice Law, Justices Kidd and Patterson

Dismissed

Filed:   August 29, 2003

Do Not Publish


